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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term

                            Grand Jury Sx'orn in on NIay 3, 2018

UNITED STATES OF AMERICA                             CRIMINAI NO.

                                                     GRAND JURY ORIGINAL

ANDRE ALLEN.                                         \{IOLATIONS:
                                                     18 U.S.c. $ 120r(a)(r)
                      Defendant.                     (Kidnapping)
                                                     22 D.C. Code $S 2801,4502
                                                     (Armed Robbery)
                                                     22 D.C. Code S 4s04(b)
                                                     (Possession of a Firearm During a Crime
                                                     of Violence or Dangerous Offense)
                                                     22 D.C. Code SS 2001, 4502
                                                     (Kidnapping While Armed)
                                                     22 D.C. Code $ 402
                                                     (Assault with a Dangerous Weapon)

                                                     FORFEITURE:
                                                     18   u.s.c. $$ e2a(d); e81(a)(1)(c);
                                                     and 28 U.S.C. $ 2461(c)

                                                     UNDERSEAL

                                      INDICTMENT
       The Grand Jury charges that:

                                        COUNT ONE

       On or about June 3, 2018, through June 4,2018, within the District of Columbia, the State

of Maryland, and   elsewhere, ANDRE     ALLEN, did unlawfully and willfully seize, confine,

kidnap, abduct, carry away and hold Sipei He and Qinglei Zhu for money, and, in committing or

in furtherance of the commission of the offense, Sipei He and Qinglei Zhu, were willfully

transported and traveled in interstate commerce from the District of Columbia to the State    of

Maryland.

       (Kidnapping, in violation of Title   18, United States Code, Section 1201(a)(1))
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                                             COUNT TWO

          On or about June 3, 2018, through June 4, 2018, within the District of Columbia,     ANDRE

ALLEN, while armed with       a   firearm or imitation thereof, by force or violence, against resistance

and by putting in fear, stole and took from the person and from the immediate actual possession

ofSipei He and Qinglei Zhu, property ofvalue belonging to Sipei He and Qinglei Zhu, consisting

of United States currency, a laptop computer, and a cellular phone.

          (Robbery While Armed, in violation of Title 22, District of Columbia Code, Sections
          2801,4s02 (2001 ed.))

                                            COUNT THREE

          On or about June 3, 2018, through June 4, 201 8. within the District of Columbia.    ANDRE

ALLEN, did      possess a firearm or imitation   thereolwhile committing the crime of armed robbery

as set   tbrth in Count Two of this indictment.

          (Possession of a Firearm During a Crime of Violence or Dangerous Offense. in
          violation of Title 22, District olColumbia Code, Section 4504(b) (2001 ed.))

                                            COUNT FOUR

          On or about June 3, 2018, through June 4, 2018, within the District of Columbia,     ANDRE

ALLEN, while      armed with and having readily available a firearm or imitation thereof, seized and

confined Sipei He and Qinglei Zhu, with intent to hold and detain Sipei He and Qinglei Zhu, for

the purpose of stealing their personal property.

          (Kidnapping While Armed, in violation of Title 22, District of Columbia Code, Sections
          2001,4s02 (2001 ed.))




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                                             COUNT FIVE

        On or about June 3,2018, through June 4, 2018, within the District of Columbia,          ANDRE

ALLEN, did possess a firearm or imitation thereof while committing the crime of kidnapping

while armed as set forth in Count Four of this indictment.

        (Possession of a Firearm During a Crime of Violence or Dangerous Offense, in
        violation of Title 22, District of Columbia Code, Section 450a(b) (2001 ed.))

                                                 COUNT SIX

        On or about June 3, 2018, through June 4, 2018, within the District of Columbia, ANDRE

ALLEN, assaulted Sipei He and Qinglei Zhu with a dangerous weapon, that is, a firearm or

imitation thereof.

        (Assault with a Dangerous Weapon, in violation of Title 22, District of Columbia Code,
        Section 402 (2001 ed.))

                                            COUNT SEVEN

        On or about June 3, 2018, through June 4, 2018, within the District of Columbia,        ANDRE

ALLEN, did     possess a firearm or   imitation thereof while committing the crime of assault with a

dangerous weapon, as set forth in Count Six        ofthis indictment.

       (Possession of a Firearm During a Crime of Violence or Dangerous Offense, in
       violation of Title 22, District of Columbia Code, Section 4504(b) (2001 ed.))

                                 FORFEITURE ALLEGATION

        1.      Upon conviction ofthe offense alleged in Count One, the defendant shall forfeit to

the United States any property, real or personal, which constitutes or is derived from proceeds

traceable to this oiflense, pusuant to   Title   18, United States Code, Section   981(a)(l)(C) and Title

28, United States Code. Section 2461(c). The United States will also seek a forfeiture money




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judgment against the defendant equal to the value of any property, real or personal, which

constitutes or is derived from proceeds traceable to this offense.

       2.       Upon conviction of the offense alleged in Count One of this Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)

and Title 28, United States Code, Section 2461(c), any firearms, imitation firearms, and

ammunition, involved in or used in the knowing commission of the offense.

       3.       Ifany ofthe property described above as being subject to forfeiture,          as a result   of

any act or omission ofthe defendant:

                (a)    cannot be located upon the exercise ofdue diligence;

                (b)    has been transferred or sold to, or deposited   with,   a   third party;

                (c)    has been placed beyond the     jurisdiction ofthe Court;

                (d)    has been substantially diminished in value; or

                (e)    has been commingled    with other property that cannot be subdivided without
                       difficulty;

the defendant shall forfeit to the United States any other property ofthe defendant, up to the value

ofthe property described above, pursuant to 21 U.S.C.$ 853(p),       as incorporated by 28 U.S.C.


$ 2461(c).

       (Criminal Forfeiture, pursuant to Title    18,   United States Code, Sections 924(d), and Title
       28, United States Code, Section 2461(c))

                                               A TRUE BILL:


                                               FOREPERSON.

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Attomey of the United States rn
and for the District ol Columbia

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